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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


ARCHITECTURAL BUSSTRUT                              Case No. 0:19-cv-00968-DSD-ECW
CORPORATION d/b/a busSTRUT,

                       Plaintiff,

vs.

TARGET CORPORATION,

                       Defendant.


                    NOTICE THAT NO REDACTION IS REQUIRED


The undersigned Lisa B. Ellingson hereby notifies the Court, court reporter/transcriber,
and counsel that, in accordance with the procedure set forth in Local Rule 5.5 Redaction
of Transcripts, Defendant Target Corporation will not be requesting redaction of the
transcript of motions hearing held on 1/29/2021 before Magistrate Judge Elizabeth
Cowan Wright as no redaction is required.

Dated: March 11, 2021                          WINTHROP & WEINSTINE, P.A.

                                               By: s/ Lisa B. Ellingson
                                                  Matthew R. McBride, #0261981
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